     Case 1:20-cv-03010-APM          Document 1263-2        Filed 05/07/25     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, et al.,

       Plaintiffs,
                                                         Case No. 20-cv-3010 (APM)
               v.

GOOGLE LLC,

       Defendant.


STATE OF COLORADO, et al.,

       Plaintiffs,
                                                         Case No. 20-cv-3715 (APM)
               v.

GOOGLE LLC,

       Defendant.



                                    (PROPOSED) ORDER

       The motion of Gregory J. Werden for leave to file an amicus brief in the captioned matters

is granted and the proposed brief is submitted.




Dated: May , 2025                                           Amit P. Mehta
                                                      United States District Judge




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